                                                                                Case 3:14-cr-00175-WHA Document 941 Filed 09/08/17 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,                                  No. CR 14-00175 WHA

                                                                         10                  Plaintiff,

                                                                         11     v.
United States District Court




                                                                                                                                         ORDER RE COMMUNITY
                                                                         12   PACIFIC GAS AND ELECTRIC                                   SERVICE OPPORTUNITY
                               For the Northern District of California




                                                                              COMPANY,
                                                                         13                  Defendant.
                                                                         14                                              /

                                                                         15          In light of the severe recovery needs due to Hurricanes Harvey and Irma, the Court
                                                                         16   would look favorably upon giving PG&E hour-for-hour credit for otherwise uncompensated and
                                                                         17   voluntary time devoted by PG&E to hurricane-recovery efforts in Texas and Florida (and other
                                                                         18   affected areas), up to 2,000 hours, perhaps more.
                                                                         19          A hearing on this will be held on SEPTEMBER 12 AT 1:45 P.M.
                                                                         20
                                                                         21          IT IS SO ORDERED.
                                                                         22
                                                                         23   Dated: September 8, 2017.
                                                                         24                                                          WILLIAM ALSUP
                                                                                                                                     UNITED STATES DISTRICT JUDGE
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